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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,

¥. ; Case No. 23-cr-00278-JKB
CHRISTOPHER KENJI BENDANN,

Defendant.

ORDER

Upon Consideration of the Motion filed by Defendant Christopher Kenji

Bendann, and the entire record in this case, it is hereby this Ze day of

Eek. , 2025, ORDERED, the Motion is granted.

The transcript of proceedings conducted on September 20, 2023, is hereby

unsealed.

J) omer Th (Puen

Judge, U.S. District Court
For the District of Maryland

